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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS



In re EPIPEN (EPINEPHRINE
INJECTION, USP) MARKETING,
SALES PRACTICES AND                                        Case No. 2:17-MD-2785-DDC-TJJ
ANTITRUST LITIGATION                                       (MDL No. 2785)


This Document Relates to CLASS CASES.




    EXHIBIT A TO DEFENDANTS’ MOTION TO ADOPT SEALING PROTOCOL FOR
            SUMMARY JUDGMENT AND DAUBERT MOTION BRIEFING

Defendants propose the following deadlines for filing motions seeking to seal or redact any
information in the summary judgment and Daubert motion briefing.


                      SUMMARY OF PROPOSED FILING DEADLINES

Event:                                                                            Deadline:
File summary judgment and Daubert motions with confidential                       July 15, 2020
documents and testimony under seal, and preliminary redactions
where appropriate. The motions should be filed publicly if
possible, although the memoranda in support of the motions may
be filed fully under seal at this time.

Responses to summary judgment and Daubert motions with                            August 17, 2020
confidential documents and testimony under seal, and preliminary
redactions where appropriate.

File reply briefs in support of summary judgment and Daubert                      September 15, 2020
motions, with confidential documents and testimony under seal,
and preliminary redactions where appropriate.
Filing Party1 files briefing on motion to seal for summary                        August 14, 2020
judgment and Daubert motion exhibits and testimony (not
including the briefing or expert reports at this time), including                 September 16, 2020
requests for sealing/redactions made by (i) the Filing Party; (ii) the            (responses)

1
 The Filing Party refers to the party who filed the underlying motion at issue. For example, if Defendants moved to
exclude one of Plaintiffs’ experts, Defendants would be the Filing Party for purposes of that motion.
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Non-Filing Party; and (iii) third parties, and any challenges to
sealing requests.                                                      October 15, 2020
                                                                       (replies)
Within 14 days of the Court’s ruling on the motion to seal, redact,    Date of Order on
or modify confidentiality designations for exhibits (“Order on         Exhibits + 14 days
Exhibits”), the parties shall publicly file redacted or unsealed
exhibits pursuant to the Court’s order. The parties will separately
file under seal the full, unredacted version of any document which
has been sealed in its entirety or redacted.
Within 21 days of the Court’s Order on Exhibits, the Filing Party      Date of Order on
shall submit proposed redactions to (i) its memoranda in support       Exhibits + 21 days
of summary judgment and Daubert motions and (ii) its expert
reports for the Court’s review and approval.
Within 14 days of the Court’s ruling on the motion for proposed        Date of Order on
redactions for memoranda and expert reports (“Order on                 Memoranda & Expert
Memoranda & Expert Reports”), the parties shall publicly file          Reports + 14 days
redacted or unsealed memoranda and expert reports. The parties
will separately file under seal the full, unredacted version of any
document which has been sealed in its entirety or redacted.

For ease of administration and to ensure a smooth process among the parties and third parties
without the need for further intervention by the Court, Defendants also respectfully submit the
following proposal for internal deadlines relating to this sealing protocol.


                 SUMMARY OF PROPOSED INTERNAL DEADLINES

Event:                                                                 Deadline:
Filing Party contacts third parties whose Confidential and Highly      July 20, 2020
Confidential documents or testimony are included as exhibits to
these motions.                                                         August 20, 2020
                                                                       (responses)
(within 3 business days of preliminary filing)
                                                                       September 18, 2020
                                                                       (replies)
Non-Filing Party and third parties identify for Filing Party the       July 29, 2020
exhibits, portions of exhibits, and testimony for which they intend
to maintain confidentiality designations and the bases for those       August 31, 2020
designations.                                                          (responses)

(within 14 days of preliminary filing)                                 September 29, 2020
                                                                       (replies)
Filing Party notifies Non-Filing Party of the list of exhibits and     August 5, 2020
testimony for which Filing Party OR third parties intend to
maintain confidentiality designations, including proposed              September 8, 2020
redactions to exhibits (not including the briefing or expert reports   (responses)
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at this time).
                                                                       October 6, 2020
(within 21 days of preliminary filing)                                 (replies)
Non-Filing Party identifies any challenge(s) to designations and       August 12, 2020
reasons for challenge(s).
                                                                       September 14, 2020
(within 28 days of preliminary filing)                                 (responses)

                                                                       October 13, 2020
                                                                       (replies)
The Filing Party identifies to each third party whose confidential     Date of Order on
information has been cited in summary judgment or Daubert              Exhibits + 7 days
motions (1) the outcome of the Court’s decision on the filing of
the third party’s exhibits, (2) any quotes from, citations to, or
references to the third party’s confidential information in the
memoranda in support of summary judgment and Daubert
motions, and (3) any quotes from, citations to, or references to the
third party’s confidential information in any expert reports that
were filed as exhibits.

(within 7 days of Court’s Order on Exhibits)

Filing Party then works with Non-Filing Party and third parties to
determine appropriate redactions to any portion of the memoranda
in support of the motion for summary judgment, Daubert motions,
or expert reports that refers to that Non-Filing Party or third
party’s confidential information, keeping in mind the Court’s
order on sealing and the Court’s guidance as to what information
is appropriate to seal or redact. These proposed redactions shall be
filed within 21 days of the Date of Order on Exhibits for the
Court’s review and approval.
